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                        Exhibit 5
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                        UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF OHIO
                              EASTERN DIVISION

    IN RE: NATIONAL PRESCRIPTION                   )
    OPIATE LITIGATION                              )
                                                   )   MDL No. 2804
    This document relates to:                      )
                                                   )   Case No. 17-md-2804
    The County of Cuyahoga v. Purdue Pharma        )
    L.P., et al., Case No. 17-OP-45004 (N.D. Ohio) )   Hon. Dan Aaron Polster
                                                   )
    The County of Summit, Ohio, et al. v. Purdue   )
    Pharma L.P. et al., Case No. 180OP-45090       )
    (N.D. Ohio)                                    )
                                                   )
                                                   )
    ______________________________________


                         REPORT OF CARL C. PECK, M.D.




                                           1
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  the safety and efficacy of Vicodin aided in its determination of safety and efficacy with

  respect to Norco. The application approval materials for ANDA 040148, for example,

  stated: “The drug product, Hydrocodone Bitartrate and Acetaminophen Tablets USP, 10

  mg/325 mg (Norco) can be expected to have the same therapeutic effect as that of the listed

  drug product upon which the Agency relied as the basis of safety and effectiveness.”71

  VII.    THE FDA’S ONGOING OVERSIGHT

          A.      The FDA has long regulated and permitted the use of prescription
                  opioids; it continues to approve new prescription opioids.

          The FDA has long regulated and monitored prescription opioid pain medications,

  including their misuse and abuse. In fact, the FDA maintains a webpage, which it regularly

  updates, setting out in timeline form its many “Activities and Significant Events

  Addressing Opioid Misuse and Abuse.”72 The FDA’s timeline begins in 1911, with most

  events beginning in the early 2000s and continuing into 2019.73

          The FDA’s actions recognize—and work to mitigate—the risks of addiction,

  overdose, misuse and abuse.74 These include, among many others, the Opioid Analgesics

  Risk Evaluation and Mitigation Strategies (“REMS”) (see infra § X) and labeling changes

  (see infra § IX). They also demonstrate the FDA’s continued recognition of the important

  role that opioids can play in the proper treatment of pain by physicians and other




  71
     ALLERGAN_MDL_04161107 at -1110; see also ALLERGAN_MDL_04161181 at -1184
  (stating, with respect to ANDA 040099, that the FDA had determined that the medication could
  “be expected to have the same therapeutic effect as that of the listed drug product upon which the
  Agency relied as the basis of safety and effectiveness”).
  72
     See FDA Webpage re Timeline of Selected FDA Activities and Significant Events Addressing
  Opioid              Misuse              and             Abuse,              available           at
  https://www.fda.gov/downloads/Drugs/DrugSafety/InformationbyDrugClass/UCM566985.pdf
  (hereinafter “FDA Timeline”).
  73
     Id.
  74
     Id.
                                                 35
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  prescribers.75 For example, the FDA has found that, “[w]hen prescribed and used properly,

  opioids can effectively manage pain and alleviate suffering—clearly a public health

  priority.”76 In support of this finding, the FDA has observed that “[c]hronic pain is a

  serious and growing public health problem: it ‘affects millions of Americans; contributes

  greatly to national rates of morbidity, mortality, and disability; and is rising in

  prevalence.’”77 In addition, the FDA has recognized that there is evidence that pain is

  inadequately treated.78 The FDA states on its website that, “[a]ccording to the National

  Institutes of Health, studies have shown that properly managed medical use of opioid

  analgesic compounds (taken exactly as prescribed) is safe, can manage pain effectively,

  and rarely causes addiction.”79

           Evidencing that the FDA continues to believe that the benefits of opioids outweigh

  their risks, the FDA continues to approve New Drug Applications for opioid pain

  medications, including extended-release formulations and hyper-potent versions. In the

  last five years, the FDA has approved the following, among others:80

       •   November 20, 2014: Hysingla ER, extended-release hydrocodone bitartrate.




  75
     Id.
  76
       Sept. 10, 2013 Response to PROP Citizen Petition, at 2, available at
  http://www.supportprop.org/wp-
  content/uploads/2014/12/FDA_CDER_Response_to_Physicians_for_Responsible_Opioid_Prescr
  ibing_Partial_Petition_Approval_and_Denial.pdf (hereinafter “FDA Response to PROP Petition”).
  77
     Id. (quoting Relieving Pain in America: A Blueprint for Transforming Prevention, Care,
  Education, and Research, Committee on Advancing Pain Research, Care, and Education; Institute
  of Medicine, 2011:1-364).
  78
     Id.
  79
      See FDA Webpage on A Guide to Safe Use of Pain Medicine, available at
  https://www.fda.gov/consumers/consumer-updates/guide-safe-use-pain-medicine; Lembke Dep.
  Ex. 21.
  80
     See FDA Timeline.
                                               36
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       •   October 2, 2015:         MorphaBond, extended-release morphine sulfate (like

           Kadian®).

       •   April 26, 2016: Xtampza ER, extended-release oxycodone.

       •   April 20, 2017: RoxyBond, immediate-release oxycodone hydrochloride.

       •   November 2, 2018: Dsuvia, a sufantenil sublingual tablet, an extremely potent

           opioid, 10 times stronger than fentanyl, for use in limited circumstances.81

           The approval process, however, is not the end of the story. If the FDA subsequently

  determines that the benefits of a medicine do not outweigh the risks, the FDA can request

  that application holder remove the medicine from the market. The FDA can also withdraw

  its approval of the medication.82 Among the reasons that the FDA may withdraw approval

  are when the FDA finds that “clinical or other experience, tests, or other scientific data

  show that the drug is unsafe for use under the conditions of use upon the basis of which the

  application or abbreviated application was approved,” that “new evidence of clinical

  experience, not contained in the application or not available to the FDA until after the

  application or abbreviated application was approved, or tests by new methods, or tests by

  methods not deemed reasonably applicable when the application or abbreviated application

  was approved, evaluated together with the evidence available when the application or

  abbreviated application was approved, reveal that the drug is not shown to be safe for use

  under the conditions of use upon the basis of which the application or abbreviated

  application was approved,” “[u]pon the basis of new information before FDA with respect

  to the drug, evaluated together with the evidence available when the application or


  81
          See       FDA       Approval       Letter       for       Dsuvia,       available        at
  https://www.accessdata.fda.gov/drugsatfda_docs/appletter/2018/209128Orig1s000Ltr.pdf.
  82
     21 C.F.R. § 314.150 (“Withdrawal of approval of an application or abbreviated application.”).
                                                  37
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  abbreviated application was approved, that there is a lack of substantial evidence from

  adequate and well-controlled investigations as defined in 314.126, that the drug will have

  the effect it is purported or represented to have under the conditions of use prescribed,

  recommended, or suggested in its labeling,” or “[t]hat the application or abbreviated

  application contains any untrue statements of a material fact.”83

          B.      The FDA has imposed Postmarketing Requirements to further study
                  and monitor the risks and benefits of prescription opioids.

          In 2007, Congress amended the Federal Food, Drug, and Cosmetic Act, giving the

  FDA power to require postmarketing requirements (“PMRs”).84 Specifically, the FDA was

  given the power to “require … a postapproval study or studies of the drug, or a postapproval

  clinical trial or trials of the drug.”85 Postapproval studies or clinical trials are authorized

  where the FDA becomes aware of “new safety information,” defined as “a serious risk or

  an unexpected serious risk associated with use of the drug that the [FDA] has become aware

  of … since the drug was approved, since the risk evaluation and mitigation strategy was

  required, or since the last assessment of the approved risk evaluation and mitigation

  strategy for the drug,” or “the effectiveness of the approved risk evaluation and mitigation

  strategy for the drug obtained since the last assessment of such strategy.”86

          The purpose of a postapproval study or clinical trial is (i) “[t]o assess a known

  serious risk related to the use of the drug involved”; (ii) “[t]o assess signals of serious risk

  related to the use of the drug”; and (iii) “[t]o identify an unexpected serious risk when

  available data indicates the potential for a serious risk.”87 To meet these goals, the FDA


  83
     Id. at § 314.150(a)(2).
  84
     21 U.S.C. 355(o).
  85
     21 U.S.C. 355(o)(3)(A).
  86
     21 U.S.C. § 355-1(b)(3); see 21 U.S.C. § 355(o)(3)(C).
  87
     21 U.S.C. § 355(o)(3)(B).
                                                38
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  must first require a postapproval study; only if the FDA concludes that a study would not

  be sufficient to meet these goals may the FDA require a postapproval clinical trial.88

         As explained below, in its September 10, 2013 response to a Citizen Petition filed

  by a group called the Physicians for Responsible Opioid Prescribing (“PROP”) (see infra

  § VII.C), the FDA stated that, pursuant to its enhanced authority under the Federal Food,

  Drug, and Cosmetic Act, it was requiring NDA sponsors of extended-release, long-acting

  opioids to conduct PMRs “to assess certain known serious risks of ER/LA opioid use:

  misuse, abuse, hyperalgesia, addiction, overdose, and death.”89

         That same day, the FDA sent a letter to Watson Laboratories, Inc. (the former

  Allergan affiliate that held the Kadian® NDA at the time) notifying the company that the

  FDA would be requiring PMRs, based in part on the PROP Petition. Specifically, the FDA

  stated that it “has concluded that more data are needed regarding the serious risks of misuse,

  abuse, hyperalgesia, addiction, overdose, and death associated with the long-term use of

  [extended-release long-acting] opioid analgesics.”90 The FDA’s letter contained a list of

  five PMRs, including studies to provide quantitative estimates of the serious risks of

  opioids associated with long-term use, studies designed to define and validate

  “doctor/pharmacy shopping” as outcomes of misuse, abuse, or addition, and a clinical trial

  to estimate the risk of developing hyperalgesia following use of long-acting opioids.91 In

  response, Actavis and several other opioid manufacturers entered into an agreement “to




  88
     21 U.S.C. § 355(o)(3)(D)(ii).
  89
     FDA Response to PROP Petition at 1-2.
  90
     ALLERGAN_MDL_01291325.
  91
     Id.
                                               39
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  effectuate their collaboration to complete the PMRs.”92 The agreement’s signatories are

  known as the Opioid PMR Consortium (“OPC”).93

         A few months later, in April 2014, the FDA announced a public stakeholder

  meeting to gain insight into the design and conduct of the PMRs.94 The FDA sought insight

  on these issues from stakeholders, including patients, academics, researchers, government

  regulators, healthcare organizations, the pharmaceutical industry, and the general public.95

  Subsequently, the FDA withdrew the original five PMRs and replaced them with eleven

  PMRs, namely ten studies and one clinical trial.96

         Several of the PMRs, including the clinical trial, remained ongoing as of May 2019.

  These studies and trial as well as others of their type are another tool in the FDA’s toolbox

  for its continuing oversight and regulation of these medications, including their risks.

         C.      The FDA has considered a number of opioid-related Citizen Petitions.

         Responses to Citizen Petitions are another way in which the FDA has regulated and

  overseen prescription opioid medications. A Citizen Petition is a formal mechanism

  whereby concerned citizens or organizations can provide views, data on a medicine’s safety

  or other relate matter, along with recommendations for FDA actions.

         Federal regulations provide for the format, content and submission of Citizen

  Petitions.97 FDA regulations, policies, pending or past decisions are all candidate subjects

  for public critique, comment, and request for modification via the Citizen Petition rules


  92
     ALLERGAN_MDL_02342317.
  93
     Id.
  94
     See Public Meeting; Request for Comments - Postmarketing Requirements for the Class-Wide
  Extended-Release/Long-Acting          Opioid        Analgesics,         available        at
  https://www.regulations.gov/document?D=FDA-2014-N-0374-0001.
  95
     Id.
  96
     ALLERGAN_MDL_02023773.
  97
     21 C.F.R. § 10.3.
                                               40
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  and procedures. Citizen Petitions and FDA’s responses are open to the public and are

  maintained in an electronically accessible docket. FDA is required to carefully review and

  respond to each Citizen Petition within 180 days of receiving it. FDA responses to Citizen

  Petitions reveal FDA’s view on the issues raised by each Petition.

          There have been a number of Citizen Petitions relating to opioid pain medications.

  Notably, Physicians for Responsible Opioid Prescribing (“PROP”)—an organization led

  by one of Plaintiffs’ disclosed experts (who I understand was subsequently withdrawn by

  Plaintiffs), Dr. Jane Ballantyne, and which includes on its Board of Directors another

  proffered expert, Dr. Anna Lembke—submitted a three-page Citizen Petition on July 26,

  2012.98 The Petition outlined several of the group’s concerns:

          (a) “[T]he FDA-approved indication for nearly all instant-release opioid

          analgesics is “moderate to severe pain.” For extended-release opioids, the

          indication is for “moderate to severe pain when a continuous, around-the

          clock analgesic is needed for an extended period of time.”

          (b) “These overly broad indications imply a determination by FDA that they

          are safe and effective for long-term use.”

          (c) “[A]n increasing body of medical literature suggests that long-term use

          of opioids may be neither safe nor effective for many patients, especially

          when prescribed in high doses.”

          On the basis of these stated concerns, the PROP Citizen Petition requested FDA to

  modify the current labels of opioid analgesics as follows:



  98
          See    July      25,      2012        PROP       Citizen     Petition,     available   at
  https://www.citizen.org/sites/default/files/2048.pdf (hereinafter “PROP Petition”).
                                                  41
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            1. “Strike the term ‘moderate’ from the indication for non-cancer pain.””

            2. “Add a maximum daily dose, equivalent to 100 milligrams of morphine

            for non-cancer pain.”

            3. “Add a maximum duration of 90-days for continuous (daily) use for non-

            cancer pain.”

            After receiving the petition, the FDA solicited information and comment from the

  public.     In response to the PROP Citizen Petition, the FDA received over 1,900

  comments.99 Some public health agencies and organizations supported the Petition due to

  concerns over increased opioid abuse; however, most commenters opposed PROP’s

  requests, including the American Medical Association, the American Society of

  Anesthesiologists, and several patient advocacy groups. Those in opposition expressed

  concern that the labeling changes recommended were not supported by scientific evidence,

  and the proposed uniform approach to maximum dosage and duration of treatment was

  inconsistent with the need for individualized treatment and the variability among patient

  responses to opioids.100

            After receiving these comments, the FDA responded in detail to the PROP Citizen

  Petition on September 10, 2013, denying the Petition in large part.101 Despite PROP’s

  requests, the FDA declined to take, among others, several actions. First, while PROP had

  requested a maximum daily dose of the equivalent of 100 milligrams of morphine, the FDA

  specifically declined to “specify or recommend a maximum daily dose or duration of use




  99
     FDA Response to PROP Petition at 5
  100
      Id.
  101
      Id.
                                                42
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  for any opioid.”102 In so determining, the FDA found that Dr. Lembke’s PROP group’s

  cited “scientific literature does not support establishing a maximum recommended daily

  dose of 100 mg MED,” rejecting PROP’s contention that it did.103 For example, the FDA

  stated that while “the available data do suggest a relationship between increasing opioid

  dose and risk of certain adverse events,” “the available information does not demonstrate

  that the relationship is necessarily a causal one.”104 Thus, although PROP had “selected a

  90-day limit,” PROP had “provide[d] no evidence that addiction (however it is defined)

  increases significantly after 90 days of use such that it would support a labeling change.”105

          Second, the FDA rejected Dr. Lembke’s group’s request that the FDA “[a]dd a

  maximum duration of 90 days for continuous (daily) use.” 106 As support for this

  contention, PROP had argued that “[l]ong-term safety and effectiveness of managing [pain]

  with opioids has not been established.”107 But the FDA said that PROP’s request was “not

  supportable.”108 In so concluding, the FDA examined the materials cited by Dr. Lembke’s

  group and found them lacking. Critically, the FDA stated that “[t]he cited literature does

  not identify a duration threshold beyond which the risk of addiction outweighs the benefits

  of opioid treatment.”109




  102
      Id. at 11-14.
  103
      Id. at 12.
  104
      Id. at 16
  105
      Id.
  106
      Id. at 14 (internal quotations omitted).
  107
      Id. (internal quotations omitted).
  108
      Id.
  109
      Id. at 16.
                                                 43
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           Third, the FDA also rejected PROP’s proposed distinction for use in opioid labeling

  between chronic cancer pain, on the one hand, and chronic non-cancer pain, on the other.110

  Specifically, the FDA wrote:

                  “All of PROP’s labeling change requests are limited to ‘non-

                  cancer’ pain, a distinction that is not made in current ER/LA

                  opioid analgesic labeling. It is FDA’s view that a patient

                  without cancer, like a patient with cancer, may suffer from

                  chronic pain, and PROP has not provided scientific support

                  for why labeling should recommend different treatment for

                  such patients. In addition, FDA knows of no physiological

                  or pharmacological basis upon which to differentiate the

                  treatment of chronic pain in a cancer setting or patient from

                  the treatment of chronic pain in the absence of cancer, and

                  comments to the Petition docket reflect similar concerns.

                  FDA therefore declines to make a distinction between cancer

                  and non-cancer chronic pain in opioid labeling.”111

           In the response, the FDA required some labeling changes, though not to the extent

  advocated by PROP. For example, the FDA granted the request to remove the term

  “moderate” from the indication for extended-release, long-acting opioid pain

  medications.112 In place of that term, the FDA required applicants to use the following

  language: “[Name of medication] is indicated for the management of pain severe enough


  110
      Id. at 9.
  111
      Id.
  112
      Id. at 9.
                                               44
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  to require daily, around-the-clock, long-term opioid treatment and for which alternative

  treatment options are inadequate.” 113 Likewise, the FDA required additional labeling

  language “urg[ing] prescribers to weigh carefully whether the benefits of an ER/LA opioid

  outweigh its serious risks on a patient-by-patient basis.” 114 This shows the FDA’s

  recognition of the importance of doctors and other prescribers making decisions about

  whether to use opioid medications in each individual patient’s unique circumstances.

          The FDA’s responses to Citizen Petitions like PROP’s can be useful in revealing

  the FDA’s current thinking about disputed issues regarding drug safety and efficacy. In

  this case, the FDA’s response demonstrated that it stood by its previous determinations on

  the safety of opioids. It also shows that the FDA rejected several of the core contentions

  of Plaintiffs and their experts, such as their proposed treatment for chronic non-cancer pain,

  their proposed restriction on the duration of treatment, and their proposed restriction on the

  daily dosage.115

          Another similar example is the FDA’s response to a July 20, 2017 Citizen Petition

  by a group called Pharmaceutical Manufacturing Research Services, Inc (“PMRS”). 116




  113
      Id. at 8 (also requiring additional language in “Limitations of Use” section).
  114
      Id.
  115
      In August 2017, PROP submitted another Citizen Petition to the FDA. See August 2017 PROP
  Citizen Petition, Docket No. FDA-2017-P-5396. PROP requested that the FDA remove “ultra-high
  dosage unit” opioids, arguing that their risks “outweigh their benefits” and that they “should be
  immediately removed from the market to prevent further harm.” Id. at 1, 5. On February 28, 2018,
  FDA responded to PROP’s Citizen Petition. See February 28, 2018 FDA Response, Docket No.
  FDA-2017-P-5396. Again, the FDA declined to take immediate action, stating instead that the
  FDA had “not yet resolved the issues raised in your citizen petition.” Id. The FDA’s refusal to
  “immediately” remove “ultra-high dosage opioids” from the market indicates that it did not believe
  that, based on the current science, those medications were not safe and effective.
  116
            July       20,       2017        PMRS        Citizen       Petition,     available    at
  https://www.regulations.gov/document?D=FDA-2017-P-4352-0001; FDA Response to July 20,
  2017 PMRS Citizen Petition, available at https://www.regulations.gov/document?D=FDA-2017-
  P-4352-0017.
                                                 45
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  The PMRS group requested, among other things, that the FDA “[r]efrain from approving

  all other pending or future applications for opioids indicated for chronic use, including use

  over ‘an extended period of time,’ use for ‘long-term opioid treatment,’ or any other

  labeling for chronic use.” 117 PMRS “contend[ed] that these indications are false and

  misleading and lack substantial evidence.”118 The FDA considered PMRS’s position and

  “agree[d] that opioid addiction and the resulting overdoses and deaths have created a

  national crisis,” and it “note[d] that the Agency is taking a variety of steps to address this

  public health concern.” 119 Nonetheless, the FDA denied the Petition, stating that it

  “believe[d] it would be premature to make a determination at this time regarding [PMRS’s]

  specific requests.”120 In denying the Petition, the FDA referred to the ongoing opioid

  PMRs. See supra § VII.B. It stated that, given those pending PMRs, the FDA was

  “denying [PMRS’s] request to take the specified actions at this time insofar as we are

  continuing to consider, both in the context of application-specific reviews and ongoing

  PMRs, the issues you raised.”121

         PMRS filed another Citizen Petition in July 2018, to which the FDA responded in

  December 2018.122 This Petition asked, among other things, that the FDA stop approving

  opioid medications with indications for chronic non-cancer pain. 123 Again, the FDA

  rejected the request of PMRS.124



  117
      Id.
  118
      Id.
  119
      Id.
  120
      Id.
  121
      Id. at 4.
  122
      See December 20, 2018 Response to July 23, 2018 PMRS Petition, Docket No. FDA-2018-P-
  2851.
  123
      Id.
  124
      Id.
                                               46
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          As with the PROP Petitions, the FDA’s response to these Petitions reflects the

  Agency’s views on these important issues. Its response to the PMRS Petitions, like its

  response to the PROP Petitions, demonstrates that the FDA does not believe there is

  sufficient evidence based on the current available research and information to take the steps

  advocated by PROP or PMRS—which mirror the views of Plaintiffs and their experts here.

  The FDA’s views could change based on later research or information, but this response

  shows the FDA’s current views on these issues based on the science and medical research

  available at the time. Further, the FDA’s receipt of and responses to Citizen Petitions is

  another example of the ongoing FDA’s monitoring and regulation of opioid pain

  medications.125

          D.      The FDA continually monitors reported adverse events.

          As noted earlier in this report, even after a medication is approved, the FDA

  continues to review the safety of the medication. This continued surveillance includes the

  review of “adverse drug experience(s)”—often referred to as “adverse events”—that are

  submitted to the FDA by various sources. Physicians, other healthcare providers, and even

  patients are encouraged to report suspected adverse events to the manufacturer or directly

  to the FDA, which then reviews them as part of its ongoing post-approval surveillance.

  The FDA conducts this surveillance, in part, because not all information regarding the




  125
     The National Center for Addiction and Substance Abuse of Columbia University (“CASA”)—
  a group on whose Board of Directors Plaintiffs’ proffered expert Dr. Kessler served at the time—
  also submitted two opioid-related Citizen Petitions, one in October 2007 and another in May 2009.
  See October 25, 2007 CASA Citizen Petition, Docket No. FDA-2007-P-0009; May 15, 2009 CASA
  Citizen Petition, Docket No. FDA-2009-P-0227. In a June 2013 response, the FDA denied both of
  CASA’s Petitions. See June 17, 2013 FDA Response, Docket Nos. FDA-2007-P-0009.
                                                 47
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  safety and effectiveness of a medication is necessarily known at the time of the FDA’s

  initial approval.126

          Under 21 C.F.R. § 314.80(b), the holders of each approved NDA and ANDA

  (among others) must make several types of submissions to the FDA regarding potential

  adverse events involving their medications. For one, applicants “must report each adverse

  drug experience that is both serious and unexpected, whether foreign or domestic, as soon

  as possible but no later than 15 calendar days from initial receipt of the information by the

  applicant.”127 These are often called 15-day reports. In addition, applicants must submit

  reports of other adverse drug experiences—i.e., those not reported as 15-day reports—

  quarterly for the first three years after the application is approved and then annually after

  that.128 These are commonly known as periodic reports. With respect to both Kadian®

  and Norco®, Allergan’s current and former affiliates have regularly submitted both 15-day

  reports and periodic reports, as appropriate.

          Such real-world information is valuable to the FDA’s post-approval surveillance.129

  As this new information becomes available to the FDA, it “reviews the data and evaluates



  126
      See, e.g., FDA Draft Guidance, Drug Safety Information — FDA’s Communication to the Public,
  available                                                                                           at
  https://www.fda.gov/downloads/drugs/guidancecomplianceregulatoryinformation/guidances/ucm
  295217.pdf, at 3 (“After drug approval, FDA may learn of new, or more serious or more frequent,
  adverse drug reactions from, for example, postapproval voluntary or mandatory reporting of
  adverse drug reactions during use of the drug . . .”).
  127
      21 C.F.R. § 314.80(c)(1)(i).
  128
      Id. at § 314.80(c)(2).
  129
      Adverse events, though, are not useful in assessing causation. While adverse event reporting is
  useful to generate hypotheses, for example, they often lack altogether or even incorrectly report
  key information or are otherwise unreliable for this purpose. The FDA has been quite clear about
  the limitations of adverse event reporting in determining causation. For example, the FDA’s
  website states that “there is no certainty that the reported event (adverse event or medication error)
  was due to the product”; further, “FDA does not require a causal relationship between a product
  and event be proven, and reports do not always contain enough detail to properly evaluate an event.”
  See Questions and Answers on FDA’s Adverse Event Reporting System (FAERS), available at
                                                   48
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  whether there is an emerging drug safety concern.” 130 If there is such a concern, “relevant

  medical and scientific experts within FDA engage in a prompt review and analysis of

  available data.”131

          As part of this process, the FDA maintains a database known as the FDA Adverse

  Event Reporting System (“FAERS”) that contains adverse event reports that were

  submitted to the FDA. 132 The FDA describes FAERS as “a useful tool for FDA for

  activities such as looking for new safety concerns that might be related to a marketed

  product.”133 Reports contained in FAERS are evaluated by clinical reviewers at the FDA—

  namely those in the Center for Drug Evaluation and Research as well as the Center for

  Biologics Evaluation and Research—“to monitor the safety of products after they are

  approved by FDA.” 134 If the FDA identifies a potential safety concern in FAERS, it

  conducts further evaluation.135

          From there, the FDA can take additional regulatory action as appropriate. For

  example, the FDA might require an update to a product’s labeling, restrict the use of a



  https://www.fda.gov/drugs/guidancecomplianceregulatoryinformation/surveillance/adversedrugef
  fects/default.Htm. Nor can one draw any conclusions from the number, frequency or incidence of
  adverse event reports: “Many factors can influence whether an event will be reported, such as the
  time a product has been marketed and publicity about an event. There are also duplicate reports
  where the same report was submitted by a consumer and by the sponsor. Therefore, FAERS data
  cannot be used to calculate the incidence of an adverse event or medication error in the U.S.
  population.” Id.
  130
      See, e.g., FDA Draft Guidance, Drug Safety Information — FDA’s Communication to the Public
  at                            ,                            available                           at
  https://www.fda.gov/downloads/drugs/guidancecomplianceregulatoryinformation/guidances/ucm
  295217.pdf, at 3.
  131
      Id.
  132
      See Questions and Answers on FDA’s Adverse Event Reporting System (FAERS), available at
  https://www.fda.gov/drugs/guidancecomplianceregulatoryinformation/surveillance/adversedrugef
  fects/default.Htm.
  133
      Id.
  134
      Id.
  135
      Id.
                                                 49
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  medication, communicate safety information to the publication—or even remove a product

  from the market altogether. 136 For instance, with respect to opioid pain medications

  specifically, in March 2016 the FDA required a change to the labeling of certain opioid

  medications—including Kadian®—based in part on FAERS.137 Specifically, in requiring

  the disclosure of additional risk information about the “occurrence of adrenal insufficiency

  in patients following the initiation of an opioid,” the FDA wrote that “we have become

  aware of cases submitted to the FDA’s Adverse Event Reporting System (FAERS) similar

  to those described in the published literature.”138 In that instance, the labels for Kadian®

  and other opioid medications were revised to provide prescribers additional information on

  this risk. See infra § IX.

          At bottom, the reporting and analysis of adverse event information is a crucial tool

  in the FDA’s ongoing surveillance of opioid pain medications, including Kadian® and

  Norco®.

  VIII. FDA WARNING LETTERS

          A.      Generally

          An FDA warning letter is a correspondence that the FDA sends to a regulated entity

  to notify it of potential violations so that the entity has “an opportunity to take voluntary

  and prompt corrective action.” 139      Warning letters are “informal and advisory.” 140



  136
      Id.
  137
      See March 22, 2016 FDA Letter, ALLERGAN_MDL_02195310.
  138
      Id. at ALLERGAN_MDL_02195311; see also id. at ALLERGAN_MDL_02195310 (also
  referring to the FDA’s search of FAERS to identify cases regarding the “occurrence of serotonin
  syndrome following the initiation of an opioid in patients who had previously been taking one or
  more serotonergic drugs”).
  139
          FDA       Regulatory     Procedures       Manual,      §     4-4-1,     available     at
  https://www.fda.gov/downloads/ICECI/ComplianceManuals/RegulatoryProceduresManual/UCM
  074330.pdf.
  140
      Id.
                                                50
